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                                          7

                                          8                       UNITED STATES DISTRICT COURT
                                          9                      CENTRAL DISTRICT OF CALIFORNIA
                                         10
601 SOUTH FIGUEROA STREET, SUITE 1950




                                         11   SHANGHAI XUANNI                             Case No. 2:20-cv-07467
   LOS ANGELES, CALIFORNIA 90017




                                              TECHNOLOGY CO., LTD., a Chinese
                                         12   company,                                    COMPLAINT FOR DAMAGES
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                                                                                          AND JURY DEMAND
                                         13                  Plaintiff,
                                         14         vs.
                                         15   CITY POCKET LOS ANGELES, INC,
                                              a California corporation, MORAD
                                         16   MATIAN, a/k/a MORAD MATYAN,
                                              an individual, NER PRECIOUS
                                         17   METALS INC., a California
                                              corporation, PEDRAM SHAMEKH, an
                                         18   individual, B&F FEDELINI INC., a
                                              California corporation, and FARHAD
                                         19   SADIAN, a/k/a FRED SADIAN, an
                                              individual,
                                         20
                                                             Defendants.
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                                          1         Plaintiff Shanghai Xuanni Technology Co., Ltd. (“SXT”) alleges for its
                                          2   Complaint against defendants City Pocket Los Angeles, Inc. (“City Pocket”), its
                                          3   owner or principal Morad Matian, a/k/a Morad Matyan, a/k/a Morad Madian
                                          4   (“Matian); NER Precious Metals Inc., (“NER”) and its owner or principal, Pedram
                                          5   Shamekh (“Shamekh”); B&F Fedelini Inc. (“B&F), and its owner or principal Farhad
                                          6   Sadian, a/k/a Fred Sadian (“Sadian”), as follows:
                                          7                                        PARTIES
                                          8         1.     Plaintiff SXT is a Chinese company organized under the laws of the
                                          9   People’s Republic of China, with its principal place of business in the City of
                                         10   Shanghai, China.
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                                         11         2.     Defendant City Pocket is a California corporation with its principal
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                                         12   place of business in the City of Los Angeles, California.
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                                         13         3.     Defendant Matian is an individual who plaintiff is informed and
                                         14   believes resides in Los Angeles County.
                                         15         4.     Defendant NER Precious Metals Inc. is a California corporation with
                                         16   its principal place of business in the City of Los Angeles, California.
                                         17         5.     Defendant Shamekh is an individual who plaintiff is informed and
                                         18   believes resides in Los Angeles County.
                                         19         6.     Defendant B&F Fedelini Inc. is a California corporation with its
                                         20   principal place of business in the City of Los Angeles, California.
                                         21         7.     Defendant Sadian is an individual who plaintiff is informed and
                                         22   believes resides in Los Angeles County.
                                         23                             JURISDICTION AND VENUE
                                         24         8.     Jurisdiction is proper here under 28 USC section 1332 as between SXT
                                         25   and each of the defendants because there is complete diversity between SXT, as a
                                         26   Chinese company with its principal place of business in China, and the defendants,
                                         27   each a resident or citizen of Los Angeles County. SXT alleges far more than the
                                         28   jurisdictional minimum amount in controversy of $75,000 against each defendant.

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                                          1         9.     Venue is proper under 28 USC section 1391(b) because each
                                          2   defendant lives or operates within this County.
                                          3                              FACTUAL BACKGROUND
                                          4         10.    Plaintiff SXT is a Chinese trading company. In July 2019, the three
                                          5   companies sued in this action, City Pocket, NER and B&F sent SXT purchase
                                          6   orders requesting to buy knitted fabrics. Although each company ordered different
                                          7   amounts of goods and had different owners/principals who communicated with
                                          8   SXT, from SXT’s perspective, the three companies knew each other and had some
                                          9   affiliation, although the full extent of that connection was not clear.
                                         10         11.    Based on the receipt of each companies’ written purchase orders, SXT
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                                         11   in return issued each company a proforma invoice which estimated the amount of
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                                         12   goods that would be shipped and the price.
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                                         13         12.    SXT also requested each of the companies’ owners to send corporate
                                         14   information about their respective entities’ history to satisfy SXT that they were
                                         15   legitimate businesses and could be trusted. Each of the companies’
                                         16   owners/principals named personally here responded and provided information on
                                         17   their respective companies and vouched for their legitimacy. Separately, each of
                                         18   the owners/principals named in this lawsuit are also identified on their respective
                                         19   companies’ Statement of Information on file with the California Secretary of State’s
                                         20   office as each company’s Chief Executive Officer, among other officer titles.
                                         21         13.    Each company was required to pay a small deposit so that SXT would
                                         22   ship the goods.
                                         23         14.    Goods were shipped, as ordered, to each of the three companies, and
                                         24   each of them received the goods in the Fall of 2019. Each company signed
                                         25   inspection certificates regarding its receipt of the goods, and aside from City
                                         26   Pocket, no material objections were made as to the goods themselves or anything
                                         27   else with the orders that would excuse the companies’ obligation to pay for the
                                         28   goods. As for City Pocket’s few issues out of the many containers it received, the

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                                          1   company resolved those matters without any further indication by City Pocket that
                                          2   it would not pay for the goods it received.
                                          3         15.    The three companies failed to pay the remaining sums due on their
                                          4   orders.
                                          5         16.    City Pocket was shipped goods and received invoices for those items
                                          6   totaling $1,049,764.44 and paid a deposit of approximately 15% of $159,088.50,
                                          7   leaving an unpaid balance of $890,675.94 due and owing since December 2019.
                                          8         17.    NER was shipped goods and received invoices for those items totaling
                                          9   $1,170,775.37 and paid a deposit of less than 10% of $116,982.55, leaving an
                                         10   unpaid balance of $1,053,792.82 due and owing since November 2019.
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                                         11         18.    B&F was shipped goods and received invoices for those items totaling
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                                         12   $229,439.79 and paid a deposit of approximately 20% of $45,963.40, leaving an
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                                         13   unpaid balance of $183,979.07 due and owing since November 2019.
                                         14         19.    Beginning soon after the goods were received and invoices had been
                                         15   issued, SXT followed up with each company to ask about the payment
                                         16   arrangements for the goods. Each company’s principals either ignored these emails
                                         17   or after weeks of delays would send emails making vague excuses for their non-
                                         18   payment, in in some instances claiming the goods needed to be re-sold to customers
                                         19   (and that those customers were on 60 to 90 day payment terms) and promising to
                                         20   pay SXT when those downstream customers who bought the goods from them had
                                         21   paid. The companies and their principals would then continue to ignore SXT until
                                         22   SXT had to reach out again after weeks or a month. Not once did these companies
                                         23   or the owners, who were the parties who bought the goods and owed the money,
                                         24   ever reach out to SXT on their own to provide updates on the payments.
                                         25         20.    Naïve as it was, SXT continued to believe the representations that
                                         26   Messrs. Matian, Shamekh and Sadian were feeding them. In some instances, such
                                         27   as Mr. Shamekh, the current COVID-19 situation was used as an excuse, with
                                         28   assertions that the company had to shut down and therefore Mr. Shamekh could not

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                                          1   provide any updates until he returned to work (which is absurd). In the case of Mr.
                                          2   Matian, he falsely asserted to SXT that he could not demand payment from his
                                          3   customers during the pandemic because of government restrictions, which was also
                                          4   false.
                                          5            21.   To date, none of the balances have been paid, and inquiries made by
                                          6   SXT and its counsel have been ignored, with emails and letters received but with no
                                          7   response, and voice calls being allowed to go to voicemail or being sent directly to
                                          8   voicemail. In some instances, for example, with Mr. Matian, he answered the call
                                          9   and claimed not to be Mr. Matian and asked to take a message, but then no return
                                         10   call was made, and subsequent calls were sent directly to voicemail. In the case of
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                                         11   Mr. Shamekh, calls were allowed to roll over to voicemail and then a caller from
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                                         12   the same number would call back and not say anything or would hang up after
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                                         13   counsel had announced his name upon picking up. None of the companies or their
                                         14   owners have contacted SXT to explain why they have not paid or when any
                                         15   payments would be made. This lawsuit therefore became necessary.
                                         16            22.   SXT is informed and believes and based thereon alleges that the
                                         17   companies very likely set up a scam to acquire the goods worth nearly two and a
                                         18   half million dollars from SXT, paid a pittance in deposits, and upon receipt of the
                                         19   goods, used or sold them as they saw fit without any intention to pay for the
                                         20   balance. The companies and their owners assumed that a Chinese company with
                                         21   salespersons unfamiliar with U.S. businesses and our legal system would have no
                                         22   recourse against them.
                                         23            23.   There are many discrepancies and issues that have come to light since
                                         24   and during SXT’s failed attempts to contact and communicate with the three
                                         25   companies. For example, when preparing freight forwarding documents for
                                         26   receiving and delivery SXT’s shipments from China (which arrived by boat), B&F
                                         27   listed its phone number as 424-283-1756. That is the same phone number listed by
                                         28   Mr. Shamekh for NER. (Today, dialing that number reveals it may have been a

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                                          1   Google voice account that has been shut down). Thus, while representing they are
                                          2   two separate companies, the two used the same phone number but never disclosed
                                          3   that connection to SXT.
                                          4         24.    Both Mr. Matian for City Pocket and Mr. Shamekh for NER sent SXT
                                          5   the same email on December 20, 2019 stating in basically identical language that
                                          6   due to the holiday season, their offices would be closed from December 20, 2019 to
                                          7   January 5, 2020, returning January 6, 2020, and that they would make payments by
                                          8   January 10, 2020. The language could not have been written the same
                                          9   coincidentally. There must have been some connection or coordination between the
                                         10   two men. Of course, neither company made such payments nor did they follow up
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                                         11   with SXT after buying themselves a break over the holiday to enjoy the fruits of
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                                         12   their multi-million dollar scam.
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                                         13         25.    This is not the first time Mr. Shamekh has conducted such a scheme.
                                         14   Just this year, he was found liable for fraud and similar conduct in the Southern
                                         15   District of New York, in Alishaev Brothers, Inc. v. LA Girl Jewelry, Inc., Case No.
                                         16   17-cv-7505 (JGK). The court dockets in the LA Superior Court are also filled with
                                         17   collection, breach of contract and other matters against Mr. Shamekh alleging his
                                         18   dishonesty in business matters.
                                         19         26.    The evidence and circumstances alleged here are not simply a generic
                                         20   breach of contract or common counts claim where a buyer simply fails to pay for
                                         21   goods. The purchasers here, through their principals, ordered goods, received them,
                                         22   and then strung along the seller for months offering bogus excuses for their
                                         23   nonpayment. It is apparent there was never any intention to pay for the goods at all.
                                         24   Such conduct is actionable under California law as a false promise.
                                         25                             FIRST CLAIM FOR RELIEF
                                         26                      (Breach of Contract – Against City Pocket)
                                         27         27.    Plaintiff realleges each allegation set forth above and incorporates
                                         28   them here by this reference.

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                                          1         28.      SXT and City Pocket entered into a contractual relationship whereby
                                          2   SXT agreed to sell, and City Pocket agreed to buy, goods. This agreement is
                                          3   memorialized by purchase orders, draft “proforma invoices” and the final invoices
                                          4   that SXT sent to City Pocket. SXT performed all of the material terms of this
                                          5   agreement, shipped the goods and sent City Pocket invoices for the sums due
                                          6   totaling $890,675.94.
                                          7         29.      City Pocket has failed to pay $890,675.94 of the sums due to SXT,
                                          8   which is a breach of the parties’ agreement, and such failure to pay has caused SXT
                                          9   damages in that sum.
                                         10         30.      SXT is entitled to prejudgment interest on the unpaid sum due under
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                                         11   California law according to proof.
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                                         12                             SECOND CLAIM FOR RELIEF
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                                         13                            (Breach of Contract – Against NER)
                                         14         31.      Plaintiff realleges each allegation set forth above and incorporates
                                         15   them here by this reference.
                                         16         32.      SXT and NER entered into a contractual relationship whereby SXT
                                         17   agreed to sell, and City Pocket agreed to buy, goods. This agreement is
                                         18   memorialized by purchase orders, draft “proforma invoices” and the final invoices
                                         19   that SXT sent to NER. SXT performed all of the material terms of this agreement,
                                         20   shipped the goods and sent NER invoices for the sums due totaling $1,053,792.82.
                                         21         33.      NER has failed to pay $1,053,792.82 of the sums due to SXT, which is
                                         22   a breach of the parties’ agreement, and such failure to pay has caused SXT damages
                                         23   in that sum.
                                         24         34.      SXT is entitled to prejudgment interest on the unpaid sum due under
                                         25   California law according to proof.
                                         26

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                                          1                              THIRD CLAIM FOR RELIEF
                                          2                            (Breach of Contract – Against B&F)
                                          3          35.     Plaintiff realleges each allegation set forth above and incorporates
                                          4   them here by this reference.
                                          5          36.     SXT and B&F entered into a contractual relationship whereby SXT
                                          6   agreed to sell, and B&F agreed to buy, goods. This agreement is memorialized by
                                          7   purchase orders, draft “proforma invoices” and the final invoices that SXT sent to
                                          8   B&F. SXT performed all of the material terms of this agreement, shipped the
                                          9   goods and sent City Pocket invoices for the sums due totaling $183,979.07.
                                         10          37.     B&F has failed to pay $183,979.07 of the sums due to SXT, which is a
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                                         11   breach of the parties’ agreement, and such failure to pay has caused SXT damages
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                                         12   in that sum.
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                                         13          38.     SXT is entitled to prejudgment interest on the unpaid sum due under
                                         14   California law according to proof.
                                         15                             FOURTH CLAIM FOR RELIEF
                                         16                  (Common Counts – Account Stated/Open Book Account
                                         17                                   – Against City Pocket)
                                         18          39.     Plaintiff realleges each allegation set forth above and incorporates
                                         19   them here by this reference.
                                         20          40.     SXT alleges that, within the last four years, City Pocket became
                                         21   indebted to it on an open book account for money due in the sum of $890,675.94.
                                         22          41.     SXT alleges that, within the last four years, City Pocket has
                                         23   acknowledged that an account stated exists in the form of invoices that SXT has
                                         24   sent to City Pocket, and that City Pocket agreed that it was indebted to SXT in the
                                         25   sum of $890,675.94.
                                         26          42.     This open book account, and account stated, are for goods and
                                         27   merchandise that SXT sold to City Pocket for which City Pocket promised to pay
                                         28   SXT.

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                                          1           43.   $890,675.94 is the agreed upon and reasonable value of the goods and
                                          2   merchandise sold, and SXT is entitled to prejudgment interest according to proof.
                                          3                              FIFTH CLAIM FOR RELIEF
                                          4                 (Common Counts – Account Stated/Open Book Account
                                          5                                      -- Against NER)
                                          6           44.   Plaintiff realleges each allegation set forth above and incorporates
                                          7   them here by this reference.
                                          8           45.   SXT alleges that, within the last four years, NER became indebted to it
                                          9   on an open book account for money due in the sum of $1,053,792.82.
                                         10           46.   SXT alleges that, within the last four years, NER has acknowledged
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                                         11   that an account stated exists in the form of invoices that SXT has sent to NER, and
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                                         12   that NER agreed that it was indebted to SXT in the sum of $1,053,792.82.
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                                         13           47.   This open book account, and account stated, are for goods and
                                         14   merchandise that SXT sold to NER for which NER promised to pay SXT.
                                         15           48.   $1,053,792.82 is the agreed upon and reasonable value of the goods
                                         16   and merchandise sold, and SXT is entitled to prejudgment interest according to
                                         17   proof
                                         18                              SIXTH CLAIM FOR RELIEF
                                         19                 (Common Counts – Account Stated/Open Book Account
                                         20                                      -- Against B&F)
                                         21           49.   Plaintiff realleges each allegation set forth above and incorporates
                                         22   them here by this reference.
                                         23           50.   SXT alleges that, within the last four years, B&F became indebted to it
                                         24   on an open book account for money due in the sum of $183,979.07.
                                         25           51.   SXT alleges that, within the last four years, B&F has acknowledged
                                         26   that an account stated exists in the form of invoices that SXT has sent to B&F, and
                                         27   that B&F agreed that it was indebted to SXT in the sum of $183,979.07.
                                         28

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                                         1         52.    This open book account, and account stated, are for goods and
                                         2   merchandise that SXT sold to B&F for which City Pocket promised to pay SXT.
                                         3         53.    $183,979.07 is the agreed upon and reasonable value of the goods and
                                         4   merchandise sold, and SXT is entitled to prejudgment interest according to proof
                                         5                           SEVENTH CLAIM FOR RELIEF
                                         6               (False Promise/Fraud – Against City Pocket and Matian)
                                         7         54.    Plaintiff realleges each allegation set forth above and incorporates
                                         8   them here by this reference.
                                         9         55.    Matian, as the owner and principal of City Pocket, made false
                                        10   promises to SXT by conducting a fraudulent scheme to order goods by issuing
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                                        11   purchase orders, and upon receipt of the goods, using or disposing of the goods as
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                                        12   he saw fit without any regard for City Pocket’s obligations to SXT. He falsely
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                                        13   promised when ordering the goods that he would pay for them, and after receiving
                                        14   the goods, falsely promised and assured SXT without any intention of performing
                                        15   that he would pay the invoices due. Matian’s representations that he ran a
                                        16   legitimate company, that he intended to pay for the goods he ordered, and when
                                        17   pressed for details and status updates on the payments, that he would make such
                                        18   payments, were false and designed to induce SXT to agree to sell and ship the
                                        19   goods to City Pocket, and, at least initially, for SXT to forbear from seeking
                                        20   collection of its debts through legal channels. Matian’s representations that he
                                        21   would be making payments shortly in the future (which always turned out to be
                                        22   false when no updates or payments were forthcoming), that he was still in the
                                        23   process of collecting payments from his customers in order to pay SXT, and that he
                                        24   was barred by governmental regulations from collecting debts from his customers
                                        25   during the COVID-19 situation, were false, and are further evidence that his initial
                                        26   promises to pay for the goods were also false.
                                        27         56.    SXT relied on Matian’s promises and assurances, first to accept his
                                        28   orders for the goods and to ship them, and later, that he would pay for such goods.

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                                         1         57.   Had SXT known the truth of Matian’s intentions, likely collectively
                                         2   with Shamekh and Sadian through their respective companies, it would not have
                                         3   sold the goods to City Pocket or believed Matian’s assertions that he was a
                                         4   legitimate businessman running a real company.
                                         5         58.   Had SXT known of the truth of Matian’s false assurances and
                                         6   promises, it would have avoided the loss of $890,675.94, which is the sum due and
                                         7   owing on the unpaid invoices.
                                         8         59.   Matian is equally liable for the false promises and misrepresentations
                                         9   alleged here because he is the one who made them to SXT.
                                        10                           EIGHTH CLAIM FOR RELIEF
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                                        11                 (False Promise/Fraud – Against NER and Shamekh)
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                                        12         60.   Plaintiff realleges each allegation set forth above and incorporates
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                                        13   them here by this reference.
                                        14         61.   Shamekh, as the owner and principal of NER, made false promises to
                                        15   SXT by conducting a fraudulent scheme to order goods by issuing purchase orders,
                                        16   and upon receipt of the goods, using or disposing of the goods as he saw fit without
                                        17   any regard for NER’s obligations to SXT. He falsely promised when ordering the
                                        18   goods that he would pay for them, and after receiving the goods, falsely promised
                                        19   and assured SXT in emails and in telephone calls that he would make the payments
                                        20   without any intention of performing those promises. Shamekh, like Matian, also
                                        21   made excuses using the COVID-19 situation to claim that he could not collect
                                        22   payments to then in turn pay SXT for the goods he already received and used.
                                        23         62.   SXT relied on Shamekh’s promises and assurances, first to accept his
                                        24   orders for the goods and to ship them, and later, that he would pay for such goods.
                                        25         63.   Had SXT known the truth of Shamekh’s intentions, likely collectively
                                        26   with Matian and Sadian through their respective companies, it would not have sold
                                        27   the goods to NER or believed Shamekh’s assertions that he was a legitimate
                                        28   businessman running a real company.

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                                         1         64.   Had SXT known of the truth of Shamekh’s false assurances and
                                         2   promises, it would have avoided the loss of $1,053,792.82, which is the sum due
                                         3   and owing on the unpaid invoices.
                                         4         65.   Shamekh is equally liable for the false promises and
                                         5   misrepresentations alleged here because he is the one who made them to SXT.
                                         6                            NINTH CLAIM FOR RELIEF
                                         7                   (False Promise/Fraud – Against B&F and Sadian)
                                         8         66.   Plaintiff realleges each allegation set forth above and incorporates
                                         9   them here by this reference.
                                        10         67.   Sadian, as the owner and principal of B&F, made false promises to
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                                        11   SXT by conducting a fraudulent scheme to order goods by issuing purchase orders,
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                                        12   and upon receipt of the goods, using or disposing of the goods as he saw fit without
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                                        13   any regard for B&F’s obligations to SXT. He falsely promised when ordering the
                                        14   goods that he would pay for them, and after receiving the goods, falsely promised
                                        15   and assured SXT without any intention of performing that he would pay the
                                        16   invoices due.
                                        17         68.   SXT relied on Sadian’s promises and assurances, first to accept his
                                        18   orders for the goods and to ship them, and later, that he would pay for such goods.
                                        19         69.   Had SXT known the truth of Sadian’s intentions, likely collectively
                                        20   with Shamekh and Sadian through their respective companies, it would not have
                                        21   sold the goods to B&F or believed Sadian’s assertions that he was a legitimate
                                        22   businessman running a real company.
                                        23         70.   Had SXT known of the truth of Sadian’s false assurances and
                                        24   promises, it would have avoided the loss of $183,979.07, which is the sum due and
                                        25   owing on the unpaid invoices.
                                        26         71.   Sadian is equally liable for the false promises and misrepresentations
                                        27   alleged here because he is the one who made them to SXT.
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                                    Case 2:20-cv-07467-ODW-AFM          Document 1    Filed 08/18/20   Page 13 of 13 Page ID
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                                         1                                 PRAYER FOR RELIEF
                                         2          WHEREFORE, Cross-Complainants pray for judgment as follows:
                                         3          1.     For damages of $890,675.94 against City Pocket and Matian on the
                                         4   claims for relief alleged against them; for damages of $1,053,792.82 against NER
                                         5   and Shamekh on the claims for relief alleged against them; for damages of
                                         6   $183,979.07 against B&F and Sadian for the claims for relief alleged against them.
                                         7          2.     For pre-judgment interest according to proof;
                                         8          3.     For attorneys’ fees and costs of suit as permitted by law and according
                                         9   to proof; and
                                        10          4.     For such other and further relief as the Court deems just and proper.
601 SOUTH FIGUEROA STREET, SUITE 1950




                                        11
   LOS ANGELES, CALIFORNIA 90017




                                              Dated: August 18, 2020                      FTW LAW GROUP
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         FTW LAW GROUP

          (213) 335-3960




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                                        14
                                                                                          By:
                                        15                                                      FELIX T. WOO
                                                                                                Attorney for Plaintiff
                                        16                                                      SHANGHAI XUANNI
                                                                                                TECHNOLOGY CO., LTD.
                                        17

                                        18

                                        19                                     JURY DEMAND
                                        20          Plaintiff Shanghai Xuanni Technology Co., Ltd. demands a trial by jury on
                                        21   all triable issues.
                                        22
                                              Dated: August 18, 2020                      FTW LAW GROUP
                                        23

                                        24

                                        25
                                                                                          By:
                                        26                                                      FELIX T. WOO
                                                                                                Attorney for Plaintiff
                                        27                                                      SHANGHAI XUANNI
                                                                                                TECHNOLOGY CO., LTD.
                                        28

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